                   Case 3:22-cv-00316-SES Document 14 Filed 04/21/22 Page 1 of 1
NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) OR PRO SE

Walter Parfaite
Lackawanna County Prison
SPECIAL MAIL-OPEN ONLY IN PRESENCE OF INMATE
1371 N. Washington Avenue
Scranton, PA 18509

                 WALTER PARFAITE, PLAINTIFF (Pro Se)

                                      UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF PENNSYLVANIA

WALTER PARFAITE,
                                                                    3:22-CV-00316-SES
                                                     Plaintiff(s)

                                                                       STATEMENT OF CONSENT TO PROCEED
KIM LIPPINCOTT, TFO Officer,
                                                                       (For use in Direct Assignment of Civil Cases to
                                                   Defendant(s).                  Magistrate Judges Only)

THIS CONSENT FORM SHALL BE USED ONLY FOR CASES IN WHICH A MAGISTRATE JUDGE IS INITIALLY
                    ASSIGNED PURSUANT TO STANDING ORDER 

In accordance with Standing Order , Fed.R.Civ.P. 73 and 28 U.S.C. § 636(c), the above-captioned civil matter has
been assigned to Magistrate Judge     SCHWAB                                       . All parties to the above-captioned civil
matter are to select one of the following two options and return the Consent Form to consents@pamd.uscourts.gov or mail to
Clerk’s Administrative Assistant, Clerk’s Office, U.S. District Court, P.O. Box 1148, Scranton, PA 18501-1148, within 30 days
from the date the Consent Form was sent. This Consent Form was sent on ________________.
                                                                        04/21/22

        The party or parties listed below to the above-captioned civil matter consent pursuant to the provisions of
        Standing Order , 28 U.S.C. § 636(C) and Fed.R.Civ.P. 73(b), to have the assigned Magistrate Judge conduct all
        further proceedings in this case, including trial and entry of final judgment.

        Any appeal from a judgment of the assigned Magistrate Judge shall be taken to the United States Court of Appeals
        in the same manner as an appeal from any other judgment of the District Court in accordance with 28 U.S.C.
        § 636(c)(3).
        The party or parties listed below to the above-captioned civil matter do not consent to proceed before the
        assigned Magistrate Judge. 7KHFDVHZLOOEHUDQGRPO\DVVLJQHGWRD'LVWULFW-XGJHZLWKLQWKH0LGGOH'LVWULFWRI
        3HQQV\OYDQLDEXWQRWQHFHVVDULO\LQWKHORFDWLRQLQZKLFKWKHFDVHZDVILOHG

        The party or parties listed below acknowledge that they are free to decline consent without adverse substantive
        consequences.
Name of Counsel (OR Party if Pro Se)                 Signature and Date                 Counsel for (Name of Party or Parties)




NOTICE TO COUNSEL FROM CLERK:
All parties having consented to proceed before the assigned Magistrate Judge, this case will remain assigned to United
States Magistrate Judge    SCHWAB                                              for all further proceedings.
                  STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
                            (For use in Direct Assignment of Civil Cases to Magistrate Judges only)
